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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:08CR321
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )             TENTATIVE FINDINGS
                                              )
BRYAN McCROY,                                 )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 73). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       According to the cover letter accompanying the PSR, defense counsel did not

communicate, at least on a timely basis, any objections informally to the probation officer

as required under the sentencing schedule. (Filing No. 60, ¶ 4.) Several objections were

apparently first raised in Filing No. 73. None of the objections relate to the sentencing

guideline calculation. The objections are denied.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 73) are denied;

       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 24th day of February, 2009.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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